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   12
                             UNITED STATES DISTRICT COURT
   13
                            CENTRAL DISTRICT OF CALIFORNIA
   14
   15
         MACOM TECHNOLOGY                          Case No. CV16-02859-CAS (GJSx)
   16    SOLUTIONS HOLDINGS, INC., a
         Delaware corporation, and                 JOINT STIPULATION OF
   17    NITRONEX, LLC, a Delaware limited         DISMISSAL
         liability company,
   18
                           Plaintiffs,
   19
               v.
   20
         INFINEON TECHNOLOGIES AG, a
   21    corporation organized under the laws of     Hon. Christina A. Snyder
         Germany, and INFINEON
   22    TECHNOLOGIES AMERICAS
         CORP., a Delaware corporation, and,
   23
                           Defendants.
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    1
              Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs
    2
        MACOM Technology Solutions Holdings, Inc., and Nitronex, LLC, and
    3
        Defendants Infineon Technologies AG and Infineon Technologies Americas Corp.
    4
        hereby stipulate that all claims and counterclaims in the above-captioned litigation
    5
        are hereby dismissed with prejudice.
    6
    7    Dated: October 31, 2018
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